Case: 1:23-cv-14087 Document #: 7-1 Filed: 12/21/23 Page 1 of 1 PagelID #:75

From: Kelly May <kellymay@kreamerlawgroup.com>

Date: Tuesday, December 12, 2023 at 9:07 AM

To: Adrianna Micciche <amicciche@elitepsi.com>

Subject: Re: Fazlovic v. DD Logistice, Inc. and Dejan Deriknojic -n 1:23-CCV-
14087- Service on Defendants

Thank you, Adrianna.

Kelly

Kelly M. May,

Paralegal

Kreamer Law Group, LLC

1100 E. Warrenville Rd., #135
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(630) 995-3254
kellymay(@kreamerlawgroup.com

From: Adrianna Micciche <amicciche@elitepsi.com>

Date: Monday, December 11, 2023 at 1:14 PM

To: Kelly May <kellymay@kreamerlawgroup.com>

Subject: Re: Fazlovic v. DD Logistice, Inc. and Dejan Deriknojic -n 1:23-CCV-
14087- Service on Defendants

Hello,

Please see below for a synopsis of what has occurred.

Sat 6403 South Garfield No answer at front door.
ies} 42/09/2023 14:07 Attempt Avenue Willowbrook NO Packages were still on
IL 60527 porch.
Fd 6403 South Garfield No answer at front door. No
ew 12/08/2023 20:02 Attempt Avenue Willowbrook NO vehicles visible. Two —
iL 60527 packages on front porch.
Thu 6403 South Garfield
42/07/2023 27°30 Attempt Avenue Willowbrook NO No answer at front door. YE
iL. 60527 ©
Wed 6403 South Garfield
42/06/2023 1249 Attempt Avenue Willowbrook NO No answer at front door. YE
IL. 60527
EXHIBIT

ae

